Case
 Case2:16-cr-00296-JAD-PAL
       2:16-cr-00296-JAD-PAL Document
                             Document86  Filed12/22/16
                                      83 Filed 12/28/16 Page
                                                         Page11
                                                              ofof
                                                                 44
Case
 Case2:16-cr-00296-JAD-PAL
       2:16-cr-00296-JAD-PAL Document
                             Document86  Filed12/22/16
                                      83 Filed 12/28/16 Page
                                                         Page22
                                                              ofof
                                                                 44
Case
 Case2:16-cr-00296-JAD-PAL
       2:16-cr-00296-JAD-PAL Document
                             Document86  Filed12/22/16
                                      83 Filed 12/28/16 Page
                                                         Page33
                                                              ofof
                                                                 44




                   28




                                        U.S. MAGISTRATE JUDGE
Case
 Case2:16-cr-00296-JAD-PAL
       2:16-cr-00296-JAD-PAL Document
                             Document86  Filed12/22/16
                                      83 Filed 12/28/16 Page
                                                         Page44
                                                              ofof
                                                                 44
